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                                                                      Oflice of Enforcement and Removal Operations

                                                                      U.S. Department of Homeland Security
                                                                      500 l2th Street, SW
                                                                      Washington, D.C.20536



                                                                      U.S-   Immigration
                                                                      and Customs
                                                                      Enforcement

 ZHANG, Yujing                                                                        352
 C/O Immigration and Customs Enforcement
 MiamiField Office

                               Decision to Continue Detention

 This letter is to inform you that the U.S. Immigration and Customs Enforcement (lCE) has
 reviewed your custody status and determined that you will not be released from custody at this
 time. This decision was based on a review of your file record, personal interview and consideration
 of any information you submitted to ICE reviewing officials and upon review of the factors for
 consideration set forth at 8 C.F.R. $ 241.4(e), (f), and (g).

 You are a native and a citizen of China who was admitted into the United States at Newark, NJ on
 March 28,2019 as a B1 nonimmigrant visitor. On April 4,2019, your Bl visa was revoked by the
 U.S. Department of State. You were convicted in the U.S. District Court Southern District of
 Florida for knowingly enter and remain, and attempt to enter and remain, in a restricted building
 and grounds, and knowingly and willfully make a materially false, fictitious statement and
 representation to a Department of Homeland Security. On September 12,2019, you were issued a
 Notice to Appear charging you under Section 237(a)(l)(B)(i) of the INA. On January 21,2020, an
 Immigration Judge ordered you removed to China. You waived appeal.

 ICE has reason to believe there's a significant likelihood that your removal will occur in the
 reasonably foreseeable future. Therefore, you are to remain in ICE custody at this time, as ICE is
 unable to conclude that the factors set forth at 8 C.F.R. $ 24l.a(e) have been satisfied.


 This decision, however, does not preclude you from bringing forth evidence in the future to
 demonstrate a good reason why your removal is unlikely. You are advised that pursuant to Section
 2al@)(lXc) of the Immigration and Nationality Act (lNA) you must demonstrate that you are
 making reasonable efforts to comply with the order of removal, and that you are cooperating with
 ICE efforts to remove you by taking whatever actions ICE requests to affect your removal.


 You are also advised that any willful failure or refusal on your part to make timely application in
 good faith for travel or other documents necessary for your departure, or any conspiracy or actions
 to prevent your removal or obstruct the issuance of a travel document, may subject you to criminal
 prosecution under 8 USC g 1253(a).
                                        Digitally signed by   EOGAR
                           EDGAR N      N DEJESUSJR

  Edgar N. DeJesus         DEJESUS JR
                                        Date: 2021.03,16 16:27:37
                                        -04'00'                                March     16 2021
   HQ RIO Unit Chief                                                             Date

                                                                                 www.ice.gov
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  Decision to Continue Detention
  ZHANG, Yujing            352
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                                                PROOF OF SERVICE

  (l)       Personal Service (Officer to complete both (a) and (b) below.)

                             Joseph Brown                                      Deportation Officer
            (a)      I
                                   Name of ICE Officer                                      Title

                                        Zhang, Yujing                                               with a co py of
  certify that I served
                                                        Name ofdetainee

                              Glades                                       03117   /2021
  this document      o,                                            on
                                         Institution                         Date           "-_!3i_d1-.
                                                                                                 Time
                                                                    Joseph Brown
            (b)      I certify that I served the custodian
                                                                             Name of Official

        Deportation Officer                        at
                                                                  Glades
                                                                                                                   on
                     Title                                                 Institution
        03fi712021
                               with a copy of this document.
              Date

                                                         OR

  (2)       Service by certified mail, return receipt. (Attach copy of receipt)

                                                                                                               certify
                                   Name of ICE Officer                              Title

  that I served                                                and the custodian
                                Name of detainee                                            Name of Official


  with a copy of this document by certified mail                                                     on
                                                                        lnstitution                        Dale




                                                                                   0311712021
  Detainee Signature:               ,                                   Dar'.



  ( ) cc: Attorney       ofR.ecord or Designated Representative
  ( ) cc: A-File
